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                                    EXHIBIT A

                                PROPOSED ORDER
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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

      In re:                                                   §
                                                               §         CHAPTER 11
                                                          1
      MAYFLOWER COMMUNITIES, INC.                              §
                                                               §         CASE NO. 19-30283 (HDH)
                                 Debtor.                       §

              ORDER (I) APPROVING BID PROCEDURES, (II) AUTHORIZING THE
          DEBTOR TO OFFER CERTAIN BID PROTECTIONS TO STALKING HORSE,
        (III) APPROVING PROCEDURES FOR THE ASSUMPTION AND ASSIGNMENT
              OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES,
             (IV) APPROVING THE FORMS OF NOTICES RELATED TO THE SALE,
                           AND (V) GRANTING RELATED RELIEF

               Upon the motion [Docket No. ●] (the “Motion”)2 of the above-captioned debtor and debtor-

  in-possession (the “Debtor”), pursuant to sections 105(a), 363 and 365 of title 11 of the United

  States Code (the “Bankruptcy Code”), Rules 2002, 6004, 6006 and 9007 of the Federal Rules of

  Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2002-1(a)(2) and 9007-1 of the Local

  Bankruptcy Rules of the United States Bankruptcy Court for the Northern District of Texas (the




  1
      The last four digits of the Debtor’s federal tax identification number are 6350.
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      Unless otherwise defined, all capitalized terms herein shall have the same meaning as in the Motion.

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  “Local Rules”), for entry of orders approving, among other things, the Bid Procedures, which are

  attached hereto as Exhibit 1, and granting related relief in connection with the sale of substantially

  all of the Debtor’s assets (the “Assets”); and the Court having reviewed the Motion, and having

  considered the statements of counsel and evidence adduced with respect to the Motion at a hearing

  before the Court (the “Bid Procedures Hearing”); the Court having found that (i) the Court has

  jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (ii) venue for this matter is

  proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409, (iii) this is a core proceeding

  pursuant to 28 U.S.C. § 157(b); (iv) notice of the Motion and the Bid Procedures Hearing was

  sufficient under the circumstances, and no further or other notice is required; and (v) a reasonable

  opportunity to object or be heard regarding the relief requested in the Motion has been afforded to

  all interested persons; after due deliberation the Court having determined that the relief requested

  in the Motion (i) represents a sound exercise of the Debtor’s business judgment, (ii) is necessary

  and essential to maximize the value of the Debtor’s estate (the “Estate”); and (iii) is in the best

  interests of the Debtor, the Estate, creditors, and all other parties in interest; and upon the record

  herein; and after due deliberation thereon; and good and sufficient cause having been shown;

  IT IS HEREBY FOUND AND DETERMINED THAT:

         A.      The Debtor has articulated good and sufficient reasons for, and the best interests of

  the Estate will be served by, this Court granting the relief requested in the Motion, including

  approval of the Bid Procedures and the sale of the Assets free and clear of Encumbrances (the

  “Sale”).

         B.      The Bid Procedures, attached hereto as Exhibit 1, are fair, reasonable and

  appropriate and are designed to maximize the recovery to the Estate.




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          C.      The Debtor has articulated good and sufficient reasons for, and the best interests of

  the Estate will be served by, the consummation of the Sale.

          D.      The Auction and Sale Notice, described in the Motion and attached hereto as

  Exhibit 2, is appropriate, adequate and sufficient, and is reasonably calculated to provide all

  interested parties with timely and proper notice of the Auction, the Sale, and the Bid Procedures.

  No other or further notice is required for the Sale or the Bid Procedures, as set forth herein and in

  the Motion.

          E.      The form and manner of service of the Assignment Notice, described in the Motion

  and attached hereto as Exhibit 3, is approved in all respects. Service of the Assignment Notice, as

  set forth herein, constitutes sufficient notice of the Assignment Procedures.

          F.      The Notice of Stalking Horse, attached hereto as Exhibit 4, is appropriate and

  reasonably calculated to provide all interested parties with timely and proper notice of: (i) the

  identification of the Stalking Horse; (ii) a copy of the Stalking Horse APA; (iii) the purchase price

  to be paid by the Stalking Horse; (iv) the Stalking Horse Deposit to be paid by the Stalking Horse;

  (v) the amount and nature of the Bid Protections provided for in the Stalking Horse APA; and (vi)

  the precise conditions under which the Bid Protections would be payable. No other or further

  notice is required of the foregoing.

          G.      As demonstrated by the compelling and sound business justifications set forth by

  the Debtor in the Motion and at the Bid Procedures Hearing, the entry of this Order is in the best

  interests of the Debtor and the Estate, creditors, and all other parties in interest herein; and therefor




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  IT IS HEREBY ORDERED THAT:

         1.      The Motion is GRANTED to the extent set forth herein.

         2.      The Bid Procedures are approved in all respects and shall govern all bids and bid

  proceedings relating to the sale of the Debtor’s Assets. The Debtor is authorized to take any and

  all actions necessary or appropriate to implement the Bid Procedures or obtain the highest and best

  outcome from the Sale, including entering into a Stalking Horse APA or Modified APA, as

  applicable.

         3.      Except as otherwise ordered by this Court, the Sale shall be free and clear of all

  Encumbrances.

         4.      The failure to specifically include or reference any particular provision of the Bid

  Procedures in this Order shall not diminish or impair the effectiveness of such procedure, it being

  the intent of the Court that the Bid Procedures be authorized and approved in their entirety.

         5.      The form and manner of service of the Auction and Sale Notice is approved in all

  respects. Within two (2) days of the entry of this Order, the Debtor shall serve the Auction and

  Sale Notice on: (i) all parties that have requested notice in this Chapter 11 Case as of the date

  thereof; (ii) all persons identified by Cushman as potential purchasers of the Assets; (iii) all

  counterparties to any of the Assigned Contracts; (iv) UMB Bank, National Association (the “Bond

  Trustee”); (v) all creditors of the Debtor; (vi) the Official Residents’ Committee appointed in this

  Chapter 11 Case (the “Committee”); (vii) Centers For Medicare & Medicaid Services; (viii)

  Indiana State Department of Health, Division of Long Term Care; (ix) Indiana Secretary of State,

  Securities Division; and (x) the Office of the United States Trustee (collectively, “All Parties in

  Interest”). Service of the Auction and Sale Notice, as set forth herein, constitutes sufficient notice

  of the Auction and Sale Hearing.



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           6.    On or before June 6, 2019, the Debtor, with the approval of the Bond Trustee (which

  shall not be unreasonably withheld) and after consulting with the Committee, is authorized to enter

  into a Stalking Horse APA with the Potential Bidder that provides the highest and best offer as a

  stalking horse bidder (the “Stalking Horse”).

           7.    As a component of the Stalking Horse APA, the Debtor may provide (with the

  approval of the Bond Trustee, which shall not be unreasonably withheld, and after consulting with

  the Committee), a break-up fee of up to 2% of the cash purchase price plus actual expenses in an

  amount not to exceed $250,000, a minimum bid increment for other bidders to submit competing

  bids, or other buyer protections (collectively, the “Bid Protections”) requested by the Stalking

  Horse.

           8.    Within two (2) business days of entering into the Stalking Horse APA, the Debtor

  shall serve the Notice of Stalking Horse on All Parties in Interest.

           9.    The Bid Deadline is July 16, 2019 at 4:00 p.m. (prevailing Central Time). All

  Potential Bidders are required to provide copies of their bids in both PDF and Word formats so as

  to be received by the following parties on or before the Bid Deadline: (i) the Debtor, 15601 Dallas

  Parkway, Suite 200, Addison, Texas 75001, Attn: Scott Collier (scollier@sqlc.org); (ii) counsel

  for the Debtor, DLA Piper LLP (US), 1251 Avenue of the Americas, New York, New York 10020,

  Attn: Thomas R. Califano (thomas.califano@dlapiper.com) and DLA Piper LLP (US), 1900 North

  Pearl Street, Suite 2200, Dallas, Texas 75201, Attn: Dan Prieto (dan.prieto@dlapiper.com); (iii)

  the Debtor’s Chief Restructuring Officer and restructuring advisor, Ankura Consulting Group

  LLC, 15601 Dallas Parkway, Suite 200, Dallas, Texas 75001, Attn: Louis E. Robichaux IV

  (louis.robichaux@ankura.com) and Michael Morton (michael.morton@ankura.com); (iv) the

  Debtor’s selling agent, Cushman & Wakefield, U.S., Inc., One Tampa City Center, Suite 3300,



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  Tampa, Florida 33602, Attn: Allen McMurtry (allen.mcmurtry@cushwake.com); (v) counsel for

  UMB Bank, N.A., Jackson Walker LLP, 2323 Ross Avenue, Suite 600, Dallas, Texas 75201, Attn:

  Kenneth Stohner, Jr. (kstohner@jw.com) and Vienna F. Anaya (vanaya@jw.com), and Jackson

  Walker LLP, 112 E. Pecan Street, Suite 2400, San Antonio, Texas 78205, Attn: J. Scott Rose

  (srose@jw.com) and Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., One Financial Center,

  Boston, Massachusetts 02111, Attn: William W. Kannel (wwkannel@mintz.com) and Charles W.

  Azano (cwazano@mintz.com) and Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., 3580

  Carmel Mountain Road, San Diego, California 92130, Attn: Joseph R. Dunn (jrdunn@mintz.com);

  (vi) counsel for the Committee, Faegre Baker Daniels LLP, 600 E. 96th Street, Suite 600,

  Indianapolis, Indiana 46240, Attn: Jay Jaffe (jay.jaffe@faegrebd.com); Faegre Baker Daniels LLP,

  311 S. Wacker Drive, Suite 4300, Chicago, Illinois 60606, Attn: George R. Mesires

  (george.mesires@faegrebd.com); and Neligan LLP, 325 N. St. Paul Street, Suite 3600, Dallas, TX

  75201; Attn: Patrick J. Neligan, Jr. (pneligan@neliganlaw.com); (vii) Indiana Secretary of State,

  Securities Division, 302 West Washington Street E-111, Indianapolis, Indiana 46204, Attn:

  Aleksander M. Cirulis, Esq. (acirulis@sos.IN.gov); (viii) Indiana State Department of Health,

  Division of Long Term Care, 2 North Meridian Street, 4B, Indianapolis, IN 46204, Attn: Brenda

  Buroker (bburoker@isdh.in.gov); (ix) and Centers for Medicare and Medicaid Services, Legal

  Department, 7500 Security Blvd., Baltimore, MD 21244; and (x) the Office of the United States

  Trustee, 1100 Commerce St, Room 976, Dallas, TX 75242-1699, Attn: Lisa Lambert (collectively,

  the “Notice Parties”).

         10.     Any Potential Bidder that does not submit a bid by the Bid Deadline will not be

  allowed to (i) submit a bid after the Bid Deadline or (ii) participate in the Auction.




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          11.     The Debtor, with the consent of the Committee and Bond Trustee, may extend the

  Bid Deadline for all parties without further order of the Court. In the event that the Bid Deadline

  is extended, the Debtor shall file a notice with the Court indicating the same, and shall serve such

  notice on All Parties in Interest.

          12.     The Auction, if necessary under the Bid Procedures, will be held on July 19, 2019

  at the offices of DLA Piper LLP (US), 1900 North Pearl Street, Suite 2200, Dallas, Texas 75201

  at 10:00 a.m. (prevailing Central Time).

          13.     A hearing at which the Debtor shall seek approval of the Successful Bid or the

  Stalking Horse, shall be held in this Court on [●], 2019, at 1:30 p.m. (prevailing Central Time)

  at the Earle Cabell Federal Building, 1100 Commerce Street, 14th Floor, Courtroom No. 3,

  Dallas, Texas 75242-1496 (the “Sale Hearing”).            The Sale Hearing may be adjourned or

  rescheduled without further notice other than an announcement of the adjourned date at the Sale

  Hearing.

          14.     Objections to the Sale shall be in writing, shall state the basis of such objection with

  specificity and shall be filed with the Court and served so as to be received on or before [●], 2019,

  at 4:00 p.m. (prevailing Central Time) on the Notice Parties. The failure of any party to timely

  file its objection shall be an absolute bar to the assertion, at the Sale Hearing or thereafter, of any

  objection to the Motion or the consummation and performance of the Sale.

          15.     The form and manner of service of the Assignment Notice and Resident Notice is

  approved in all respects. The Debtor shall serve the Assignment Notice on All Parties in Interest

  within two (2) days of selection of the Successful Bidder. The Debtor shall serve the Resident

  Notice on the Debtor’s residents as described in the Motion within two (2) days of selection of the




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  Successful Bidder. Service of the Assignment Notice and Resident Notice, as set forth in the

  Motion, constitutes sufficient notice of the Assignment Procedures.

          16.        Unless an objection to the Assignment Notice or Resident Notice has been filed

  within fourteen (14) days of service of the Assignment Notice or Resident Notice, as applicable,

  all counterparties to the Assigned Contracts who have received actual or constructive notice of the

  Assignment Procedures shall be deemed to have waived and released any right to object to the

  assumption and assignment of the Assigned Contracts and to have otherwise consented to the

  assumption and assignment of the Assigned Contracts to the Successful Bidder(s). If an objection

  to the Assignment Notice or Resident Notice is received within fourteen (14) days of service of

  the Assignment Notice or Resident Notice, the Debtor and/or the Successful Bidder(s) shall

  promptly schedule a hearing for the Court to consider such objection. Such objection must set

  forth the cure amount or other obligation that the objecting party asserts is due, the specific types

  and dates of the alleged defaults, pecuniary losses and conditions to the assignment and the support

  thereof, if any.

          17.        The Debtor is authorized and empowered to take such steps, expend such sums of

  money and do such other things as may be necessary to implement and effect the terms and

  requirements established and relief granted in this Order.

          18.        To the extent anything contained in this Order conflicts with the Motion, this Order

  and the provisions of the Bid Procedures attached hereto shall govern and control.

          19.        Notwithstanding the possible applicability of Bankruptcy Rule 6004(h), this Order

  shall take effect immediately upon its entry.

          20.        This Court shall retain jurisdiction to hear and determine all matters arising from

  or relating to the implementation of this Order.



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                                    ###END OF ORDER###

  Order submitted by:

  DLA PIPER LLP (US)

  By: /s/ Daniel B. Prieto
  Daniel B. Prieto, State Bar No. 24048744
  dan.prieto@dlapiper.com
  DLA Piper LLP (US)
  1900 North Pearl Street, Suite 2200
  Dallas, Texas 75201
  Telephone: (214) 743-4500
  Facsimile: (214) 743-4545

  – and –

  Thomas R. Califano, NY Bar No. 2286144 (admitted pro hac vice)
  thomas.califano@dlapiper.com
  DLA Piper LLP (US)
  1251 Avenue of the Americas
  New York, New York 10020-1104
  Tel: (212) 335-4500
  Fax: (212) 335-4501

  – and –

  Rachel Nanes (admitted pro hac vice)
  rachel.nanes@dlapiper.com
  DLA Piper LLP (US)
  200 South Biscayne Boulevard
  Suite 2500
  Miami, Florida 33131
  Tel: (305) 423-8563
  Fax: (305) 675-8206

  Proposed Counsel for the Debtor




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                                      Exhibit 1

                                    Bid Procedures
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                                  MAYFLOWER COMMUNITIES, INC.
                                        BID PROCEDURES

          Set forth below are the bid procedures (the “Bid Procedures”)1 to be employed with respect
  to the sale of substantially all of the assets (the “Assets”) of Mayflower Communities, Inc. (the
  “Debtor”), as debtor and debtor in possession in the chapter 11 case (the “Chapter 11 Case”)
  pending in the United States Bankruptcy Court for the Northern District of Texas (the “Bankruptcy
  Court”), Case No.19-30283 (HDH).

         The Debtor proposes to sell the Assets as a going concern (the “Sale”). The Sale is based
  upon a competitive bidding process, as set forth herein, and subject to approval by the Bankruptcy
  Court pursuant to section 363 of title 11 of the United States Code (the “Bankruptcy Code”) and
  Rule 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                 Due Diligence Participation Requirements

         Parties interested in conducting due diligence should contact the Debtor’s advisors, Ankura
  Consulting Group LLC (“Ankura”) and Cushman & Wakefield, U.S., Inc. (“Cushman”) as
  follows:

               •   Ankura: Michael Morton, by telephone at (214) 200-3680 or by email at
                   michael.morton@ankura.com

               •   Cushman: Allen McMurtry, by telephone at (813) 349-8349 or by email at
                   allen.mcmurtry@cushwake.com, and David Kliewer, by telephone at (813) 349-
                   8368 or by email at david.kliewer@cushwake.com

          Any person desiring to submit a bid for substantially all of the Debtor’s Assets will be
  required to deliver to the Debtor an executed confidentiality agreement in form and substance
  satisfactory to the Debtor. The Debtor and its professionals will afford any person who executes
  a confidentiality agreement (a “Potential Bidder”) such due diligence access or additional
  information as the Debtor, in its business judgment, determines to be reasonable and appropriate;
  provided, however, that the same access and information must also be made available to all
  Potential Bidders. Notwithstanding the foregoing, the Debtor shall have the right, in its sole
  discretion or at the request of UMB Bank, N.A. (the “Bond Trustee”), to require satisfactory
  evidence of any Potential Bidder’s available funds for or firm commitment for financing sufficient




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            All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Debtor’s
  Motion for Entry of Orders (I) Approving Bid Procedures, (II) Authorizing the Debtor to Offer Certain Bid Protections
  to Stalking Horse, (III) Approving Procedures for the Assumption and Assignment of Certain Executory Contracts
  and Unexpired Leases, (IV) Authorizing (A) the Sale of the Debtor’s Assets Free and Clear of All Liens, Claims,
  Interests and Encumbrances, and (B) the Assumption and Assignment of Certain Executory Contracts and Unexpired
  Leases, (V) Approving the Forms of Notices Related to the Sale, and (VI) Granting Related Relief [Docket No. ●].

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  to consummate a sale, prior to granting said Potential Bidder access to conduct due diligence.
  Additional due diligence will not be provided after the Bid Deadline (as defined below).

           Notwithstanding the foregoing, the Debtor or its professionals are not required to provide
  confidential, business-sensitive, or proprietary information to any Potential Bidder if the Debtor
  reasonably believes that (i) such disclosure would be detrimental to the interests of the Debtor’s
  estate (the “Estate”), or (ii) such potential bidder does not intend in good faith, or have the capacity,
  to consummate its bid.

         Each Potential Bidder shall be deemed to have waived the right to pursue a substantial
  contribution claim under section 503 of the Bankruptcy Code related in any way to due diligence,
  the submission of its bid, the Bid Procedures, the Auction and the Sale.

                                 Selection of a Stalking Horse Bidder

          Pursuant to the order approving these Bid Procedures (the “Bid Procedures Order”), and as
  set forth below, the Debtor is authorized to enter into an asset purchase agreement with any
  Potential Bidder that desires to serve as a stalking horse bidder.

          On or before April 26, 2019 at 4:00 p.m. (prevailing Central Time), any Potential Bidder
  that desires to serve as a stalking horse shall submit a written letter of intent setting forth the terms
  and conditions of its offer which shall include, but not be limited to:

          1.      Cash purchase price;

          2.      A commitment to make a good-faith deposit, the amount of which shall be subject
                  to further negotiation, which deposit shall be non-refundable upon execution of a
                  Stalking Horse APA unless the Debtor is in breach of the Stalking Horse APA or
                  another party is selected as the Successful Bidder (as defined below) or as otherwise
                  set forth in the Stalking Horse APA (the “Stalking Horse Deposit”);

          3.      General description of the executory contracts and unexpired leases it intends to
                  assume;

          4.      Confirmation of the Potential Bidder’s intent to commit to assumption of (i) the
                  Continuing Care Contracts, including the benevolent care provision contained
                  therein; and (ii) all past, current and future obligations to current and former
                  residents, including, but not limited to, those obligations arising under the
                  Continuing Care Contracts;

          5.      Provide information on the operational and financial capabilities of the Potential
                  Bidder sufficient to allow the Debtor and interested parties to determine such
                  bidder’s ability to assume the Continuing Care Contracts;


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         6.      Statement as to whether the Potential Bidder intends to continue operating the
                 Facility as a not-for-profit entity;

         7.      The Potential Bidder’s affiliations; and

         8.      Information on the Potential Bidder’s ability to continue to operate the Facility,
                 whether as an entrance fee continuing care retirement community or otherwise.

          The Stalking Horse must also comply with all other applicable Participation Requirements
  (as defined below).

          The Debtor shall provide the Bond Trustee and Official Residents’ Committee (the
  “Committee”) with copies of all letters of intent no later than twenty-four (24) hours after receipt
  thereof.

          On or before June 6, 2019, the Debtor, with the approval of the Bond Trustee (which shall
  not be unreasonably withheld) and after consulting with the Committee, may enter into a definitive
  asset purchase agreement (the “Stalking Horse APA”) with a Potential Bidder (the “Stalking
  Horse”).

          As a component of the Stalking Horse APA, the Debtor may provide a break-up fee of up
  to 2% of the cash purchase price plus actual expenses in an amount not to exceed $250,000, a
  minimum bid increment for other bidders to submit competing bids, or other buyer protections
  (collectively, the “Bid Protections”) requested by the Stalking Horse.

          In the event that the Debtor enters into a Stalking Horse APA, the Debtor shall file with
  the Bankruptcy Court and serve (i) all parties that have requested notice in this Chapter 11 Case
  as of the date thereof; (ii) all persons identified by the Debtor’s professionals as potential
  purchasers of the Assets; (iii) all counterparties to any of the Assigned Contracts; (iv) the Bond
  Trustee; (v) all creditors of the Debtor; (vi) the Committee; (vii) Centers For Medicare & Medicaid
  Services Legal Department; (viii) Indiana State Department of Health, Division of Long Term
  Care; (ix) Indiana Secretary of State, Securities Division; and (x) the Office of the United States
  Trustee (collectively, “All Parties in Interest”) with a notice (the “Notice of Stalking Horse”) that
  includes: (a) the identity of the Stalking Horse; (b) the purchase price to be paid by the Stalking
  Horse; (c) the Stalking Horse Deposit paid by the Stalking Horse; and (d) the amount and nature
  of the Bid Protections.

                                             Bid Deadline

          The deadline for any Potential Bidders to submit bids intending to compete with the
  Stalking Horse APA, if any, shall be July 16, 2019 at 4:00 p.m. (prevailing Central Time) (the
  “Bid Deadline”). Such bids must be received on or before the Bid Deadline by the following
  parties (collectively, the “Notice Parties”):



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        1.     The Debtor, 15601 Dallas Parkway, Suite 200, Addison, Texas 75001, Attn: Scott
               Collier (scollier@sqlc.org);

        2.     counsel for the Debtor, DLA Piper LLP (US), 1251 Avenue of the Americas, New
               York, NY 10020, Attn: Thomas R. Califano (thomas.califano@dlapiper.com) and
               DLA Piper LLP (US), 1900 North Pearl Street, Suite 2200, Dallas, Texas 75201,
               Attn: Dan Prieto (dan.prieto@dlapiper.com);

        3.     the Debtor’s Chief Restructuring Officer and restructuring advisor, Ankura
               Consulting Group LLC, 15601 Dallas Parkway, Suite 200, Dallas, Texas 75001,
               Attn: Louis E. Robichaux IV (louis.robichaux@ankura.com) and Michael Morton
               (michael.morton@ankura.com);

        4.     the Debtor’s selling agent, Cushman & Wakefield, U.S., Inc., One Tampa City
               Center, Suite 3300, Tampa, Florida 33602, Attn: Allen McMurtry
               (allen.mcmurtry@cushwake.com);

        5.     counsel for UMB Bank, National Association, Jackson Walker LLP, 2323 Ross
               Avenue, Suite 600, Dallas, Texas 75201, Attn: Kenneth Stohner, Jr.
               (kstohner@jw.com) and Vienna F. Anaya (vanaya@jw.com), and Jackson Walker
               LLP, 112 E. Pecan Street, Suite 2400, San Antonio, Texas 78205, Attn: J. Scott
               Rose (srose@jw.com) and Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.,
               One Financial Center, Boston, MA 02111, Attn: William W. Kannel
               (wwkannel@mintz.com) and Charles W. Azano (cwazano@mintz.com) and Mintz,
               Levin, Cohn, Ferris, Glovsky and Popeo, P.C., 3580 Carmel Mountain Road, San
               Diego, CA 92130, Attn: Joseph R. Dunn (jrdunn@mintz.com);

        6.     counsel for the Committee, Faegre Baker Daniels LLP, 600 E. 96th Street, Suite
               600, Indianapolis, IN 46240, Attn: Jay Jaffe (jay.jaffe@faegrebd.com); Faegre
               Baker Daniels LLP, 311 S. Wacker Drive, Suite 4300, Chicago IL 60606, Attn:
               George R. Mesires (george.mesires@faegrebd.com); and Neligan LLP, 325 N. St.
               Paul Street, Suite 3600, Dallas, TX 75201; Attn: Patrick J. Neligan, Jr.
               (pneligan@neliganlaw.com);

        7.     Indiana Secretary of State, Securities Division, 302 West Washington Street E-111,
               Indianapolis, IN 46204, Attn: Aleksander M. Cirulis, Esq. (acirulis@sos.IN.gov);

        8.     Indiana State Department of Health, Division of Long Term Care, 2 North Meridian
               Street, 4B, Indianapolis, IN 46204, Attn: Brenda Buroker (bburoker@isdh.in.gov);



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         9.      Centers for Medicare and Medicaid Services, Legal Department, 7500 Security
                 Blvd., Baltimore, MD 21244; and

         10.     the Office of the United States Trustee, 1100 Commerce St, Room 976, Dallas, TX
                 75242-1699, Attn: Lisa Lambert.

                                          Bid Requirements

          To be eligible to participate in the Auction (as such term is defined below), each bid and
  each Potential Bidder submitting such a bid must conform to the following requirements
  (collectively, the “Participation Requirements”):

         1.      offer to consummate the sale on terms no less favorable to the Debtor than those
                 set forth in the Stalking Horse APA, if any (taking into account Bid Protections that
                 must be paid);

         2.      include a marked copy of the Stalking Horse APA, or the form asset purchase
                 agreement contained in the data room if no Stalking Horse APA has been entered
                 into, to show any proposed amendments thereto (the “Modified APA”) and a clean
                 and executed Modified APA;

         3.      include a statement that there are no conditions precedent to the Potential Bidder’s
                 ability to enter into a definitive agreement, including that there are no financing
                 contingencies to the bid, and that all necessary internal and shareholder approvals
                 have been obtained prior to the bid;

         4.      state that such offer is binding and irrevocable until the approval of the Successful
                 Bid by the Court unless designated as the Back-Up Bid (as defined below);

         5.      disclose the identity of each entity that will be bidding or otherwise participating in
                 connection with such bid, and the complete terms of any such participation

         6.      disclose the Potential Bidder’s affiliations;

         7.      state whether the Potential Bidder intends to continue operating the Facility as a
                 not-for-profit entity;

         8.      include the names and contact information of members of the Potential Bidder who
                 will be available to answer questions regarding the offer, including advisors and
                 related parties;

         9.      state that the Potential Bidder shall assume (i) all of the Continuing Care Contracts
                 with the residents living at the Facility on or after the Petition Date, including the
                 benevolent care provision contained therein; and (ii) all past, present and future




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                 obligations to former and current residents including, but not limited to, those
                 obligations arising under the Continuing Care Contracts;

         10.     provide information on the operational and financial capabilities of the Potential
                 Bidder sufficient to allow the Debtor and interested parties to determine such
                 bidder’s ability to assume the Continuing Care Contracts;

         11.     include a good-faith deposit in immediately available funds in at least the amount
                 of the deposit provided by the Stalking Horse in the Stalking Horse APA (“Earnest
                 Money Deposit”) or if no Stalking Horse APA has been entered into, 5% of the
                 proposed purchase price;

         12.     provide satisfactory written evidence of available funds, a firm commitment for
                 financing sufficient to consummate the Sale, or if such proposal is seeking to
                 assume the existing bond obligations, the terms and conditions of such assumption;

         13.     provide information on the Potential Bidder’s ability to continue to operate the
                 Facility, whether as an entrance fee continuing care retirement community or
                 otherwise;

         14.     represent and warrant that the Potential Bidder has had an opportunity to conduct
                 any and all due diligence regarding the Debtor’s business and the Assets prior to
                 submitting its bid and a statement that the Potential Bidder has relied solely upon
                 its own independent review, investigation, and/or inspection of any relevant
                 documents and the Assets in making its bid and did not rely on any written or oral
                 statements, representations, promises, warranties, or guaranties whatsoever,
                 whether express or implied, by operation of law or otherwise, regarding the
                 Debtor’s business or the Assets or the completeness of any information provided in
                 connection therewith, except as expressly stated in the representations and
                 warranties contained in the Potential Bidder’s Modified APA, ultimately accepted
                 and executed by the Debtor; and

         15.     acknowledge that the Potential Bidder is not entitled to any of the Bid Protections.

         The Debtor, following consultation with the Bond Trustee and the Committee, shall
  determine whether bids submitted by Potential Bidders meet the Participation Requirements.

         The Debtor reserves the right to request additional information from a Potential Bidder in
  connection with its bid. The Debtor shall inform the Bond Trustee and the Committee of any such
  request within twenty-four (24) hours of the request.

          Bids are not required to adopt the business structure as set forth in the Stalking Horse APA,
  and may provide for either a for-profit or not-for-profit entity as the operator of the Facility.
  Bidders can also submit proposals for a plan of reorganization that provides for assumption of all
  or some of the Debtor’s bond obligations, provided that such bid also provides for the assumption
  of (i) all of the Continuing Care Contracts with residents living at the Facility on or after the
  Petition Date, including the benevolent care provision contained therein; and (ii) all past, current

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  and future obligations to current and former residents, including, but not limited to, those
  obligations arising under the Continuing Care Contracts.

                                     Qualified Bidders and Bids

         Potential Bidders who have satisfied the Participation Requirements will be deemed
  “Qualified Bidders.” Bids that contain all bid requirements, as determined by the Debtor, in
  consultation with the Bond Trustee and the Committee, will be deemed “Qualified Bids.” The
  Stalking Horse shall be entitled to credit bid the amount of its break-up fee and expense
  reimbursement.

          Potential Bidders may submit bids that provide for the assumption of all or some of the
  Debtor’s bond obligations pursuant to a plan of reorganization, provided that such bid also
  provides for the assumption of (i) all of the Continuing Care Contracts with residents living at the
  Facility on or after the Petition Date, including the benevolent care provision contained therein;
  and (ii) all past, current and future obligations to current and former residents, including, but not
  limited to, those obligations arising under the Continuing Care Contracts.

         The Debtor will advise each Potential Bidder whether they are deemed to be a Qualified
  Bidder and whether their bid is a Qualified Bid before the Auction. The Stalking Horse is deemed
  a Qualified Bidder and the Stalking Horse Bid is a Qualified Bid in all respects. The Debtor will
  provide copies of the Qualified Bids to the Bond Trustee, the Committee, the Indiana Securities
  Division and Indiana Department of Health. The Stalking Horse will be notified, no later than 24
  hours prior to the Auction, if any Qualified Bids have been received.

          The Debtor reserves the right to waive noncompliance with any one or more of the
  Participation Requirements to be a Qualified Bid and deem an otherwise not Qualified Bid to be a
  Qualified Bid if it reasonably determines, in its business judgment, after consultation with the
  Bond Trustee and the Committee, that such waiver is consistent with its fiduciary duties.

          The Bond Trustee reserves its right to submit a credit bid for the Debtor’s Assets. The
  parties reserve any and all rights as to the terms and conditions of such credit bid, including the
  Bond Trustee’s right to fully participate at the Auction. In the event the Bond Trustee credit bids,
  the Bond Trustee shall be required to assume (i) the Continuing Care Contracts, including the
  benevolent care provision contained therein; and (ii) all past, current and future obligations to
  current and former residents, including, but not limited to, those obligations arising under the
  Continuing Care Contracts.

         All Qualified Bidders shall be deemed to have waived the right to pursue a substantial
  contribution claim under section 503 of the Bankruptcy Code related in any way to due diligence,
  the submission of its bid, the Bid Procedures, the Auction and the Sale.

                                        Auction Participation

          Unless otherwise agreed to by the Debtor, only Qualified Bidders, members of the
  Committee, the Bond Trustee, representatives of holders of the Bonds, and their respective legal
  or financial professionals are eligible to attend or participate at the Auction. Subject to the other

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  provisions of these Bid Procedures, if the Debtor does not receive any Qualified Bids other than
  Stalking Horse Bid or if no Qualified Bidder other than the Stalking Horse has indicated its intent
  to participate in the Auction, the Debtor will not hold an Auction and the Stalking Horse will be
  named the Successful Bidder (as defined below).

                                               Auction

          If any Qualified Bid has been received and any Qualified Bidder has indicated its intent to
  participate in the Auction, the Debtor will conduct an auction (the “Auction”) for the sale of
  substantially all of its Assets. Each Qualified Bidder participating at the Auction will be required
  to confirm that it has not engaged in any collusion with respect to the bidding or the Sale.

          The Auction shall take place at 10:00 a.m. (prevailing Central Time) on July 19, 2019 at
  the offices of DLA Piper LLP (US), 1900 North Pearl Street, Suite 2200, Dallas, Texas 75201. At
  the Auction, only the Stalking Horse, if any, and other Qualified Bidders will be permitted to
  increase their bids or make any subsequent bids. The Debtor may conduct the Auction in the
  manner it reasonably determines, in its business judgment, after consultation with the Bond Trustee
  and the Committee, will achieve the maximum value for its Assets and is not inconsistent with the
  provisions of these Bid Procedures, the Bankruptcy Code or any order of the Bankruptcy Court
  entered in connection herewith.

                                         Closing the Auction

          The Auction shall continue until there is only one offer that the Debtor determines,
  following consultation with the Bond Trustee and the Committee, subject to Bankruptcy Court
  approval, is the highest and best offer from among the Qualified Bidders (including the Stalking
  Horse) submitted at the Auction (the “Successful Bid”). The Qualified Bidder submitting such
  Successful Bid shall become the “Successful Bidder,” and shall have such rights and
  responsibilities of a purchaser, as set forth in the Stalking Horse APA or Modified APA, as
  applicable. Immediately prior to the conclusion of the Auction, after consultation with the Bond
  Trustee and the Committee, the Debtor shall (1) review each bid made at the Auction on the basis
  of financial and contractual terms and such other factors as may be relevant to the sale process,
  including those factors affecting the Debtor’s residents, mission as well as the speed and certainty
  of consummating the Sale; (2) identify the Successful Bid; and (3) notify all Qualified Bidders at
  the Auction, prior to its conclusion, of the name or names of the Successful Bidder and the amount
  and other material terms of the Successful Bid.

          The Debtor shall also, following consultation with the Bond Trustee and the Committee,
  select a back-up bid (the “Back-Up Bid”), which shall remain open and irrevocable until one (1)
  business day after the closing of the Sale with the Successful Bidder. In the event that, for any
  reason, the Successful Bidder fails to close the transaction contemplated by the Successful Bidder,
  the Debtor may, following consultation with the Bond Trustee and the Committee, elect to regard
  the Back-Up Bid as the highest and best bid for the Assets, and the Debtor will be authorized to
  consummate the transaction contemplated by the Back-Up Bid without further order of the
  Bankruptcy Court.



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          The Successful Bidder and the Back-Up Bidder shall be deemed to have waived the right
  to pursue a substantial contribution claim under section 503 of the Bankruptcy Code related in any
  way to due diligence, the submission of its bid, the Bid Procedures, the Auction and the Sale.

                   Assumption of Executory Contracts and Unexpired Leases

          The Stalking Horse APA and Modified APA must designate which executory contracts
  and unexpired leases are to be assumed and assigned; provided, however, (i) all of the Continuing
  Care Contracts with the residents living at the Facility on or after the Petition Date; and (ii) all
  past, present and future obligations to former and current residents must be assumed by the
  Successful Bidder (the “Assigned Contracts”). In all circumstances, the Successful Bidder shall
  be responsible for all cure amounts relating to the Assigned Contracts under section 365 of the
  Bankruptcy Code.




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                                      Exhibit 2

                           Proposed Auction and Sale Notice
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      Dan Prieto, State Bar No. 24048744                        Thomas R. Califano (admitted pro hac vice)
      dan.prieto@dlapiper.com                                   thomas.califano@dlapiper.com
      DLA Piper LLP (US)                                        DLA Piper LLP (US)
      1900 North Pearl Street, Suite 2200                       1251 Avenue of the Americas
      Dallas, Texas 75201                                       New York, New York 10020-1104
      Telephone: (214) 743-4500                                 Tel: (212) 335-4500
      Facsimile: (214) 743-4545                                 Fax: (212) 335-4501

      PROPOSED COUNSEL FOR THE DEBTOR                           Rachel Nanes (admitted pro hac vice)
                                                                rachel.nanes@dlapiper.com
                                                                DLA Piper LLP (US)
                                                                200 South Biscayne Boulevard
                                                                Suite 2500
                                                                Miami, Florida 33131
                                                                Tel: (305) 423-8563
                                                                Fax: (305) 675-8206

                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

      In re:                                                    §
                                                                §         CHAPTER 11
      MAYFLOWER COMMUNITIES, INC.1                              §
                                                                §         CASE NO. 19-30283 (HDH)
                                  Debtor.

                  NOTICE OF BID PROCEDURES, AUCTION, AND SALE HEARING

                        A HEARING DATE ON THE SALE OF THE DEBTOR’S
                        ASSETS IS SET FOR [●], 2019, WHICH IS AT LEAST 21 DAYS
                        FROM THE DATE OF SERVICE HEREOF. NO OBJECTION TO
                        SUCH SALE WILL BE CONSIDERED UNLESS A WRITTEN
                        RESPONSE IS FILED WITH THE CLERK OF THE UNITED
                        STATES BANKRUPTCY COURT AT THE EARLE CABELL
                        FEDERAL BUILDING, 1100 COMMERCE STREET, 14TH
                        FLOOR, DALLAS, TEXAS 75242-1496 AT LEAST 4 DAYS IN
                        ADVANCE OF SUCH HEARING DATE.

                        ANY RESPONSE SHALL BE IN WRITING AND FILED WITH
                        THE CLERK, AND A COPY SHALL BE SERVED UPON
                        COUNSEL FOR THE MOVING PARTY PRIOR TO THE DATE
                        AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED,
                        A HEARING MAY BE HELD WITH NOTICE ONLY TO THE
                        OBJECTING PARTY.


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               The last four digits of the Debtor’s federal tax identification number are 6350.

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                 IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY
                 REQUESTED, THE RELIEF REQUESTED SHALL BE
                 DEEMED TO BE UNOPPOSED, AND THE COURT MAY
                 ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR
                 THE NOTICED ACTION MAY BE TAKEN.

         PLEASE TAKE NOTICE that, on January 30, 2019 (the “Petition Date”), Mayflower
  Communities, Inc. (the “Debtor”) filed a voluntary petition for relief under chapter 11 of title 11
  of the United States Code with the United States Bankruptcy Court for the Northern District of
  Texas (the “Court”).

          PLEASE TAKE FURTHER NOTICE that, on March 26, 2019, the Debtor filed the
  Debtor’s Motion for Entry of Orders (I) Approving Bid Procedures, (II) Authorizing the Debtor to
  Offer Certain Bid Protections to Stalking Horse, (III) Approving Procedures for the Assumption
  and Assignment of Certain Executory Contracts and Unexpired Leases, (IV) Authorizing (A) the
  Sale of the Debtor’s Assets Free and Clear of All Liens, Claims, Interests and Encumbrances, and
  (B) the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, (V)
  Approving the Forms of Notices Related to the Sale, and (VI) Granting Related Relief [Docket No.
  ●] seeking, among other things, (i) approval of certain bid procedures (the “Bid Procedures”) and
  bid protections with respect to the sale of substantially all of the Debtor’s assets (the “Assets”);
  (ii) authorization to sell the Debtor’s Assets free and clear of all liens, claims, interests and
  encumbrances; and (iii) authorization to assume and assign certain executory contracts and
  unexpired leases of the Debtor.

          PLEASE TAKE FURTHER NOTICE that, on April [●], 2019, the Court entered the
  Order (I) Approving Bid Procedures, (II) Authorizing the Debtor to Offer Certain Bid Protections
  to Stalking Horse, (III) Approving Procedures for the Assumption and Assignment of Certain
  Executory Contracts and Unexpired Leases, (IV) Approving the Forms of Notices Related to the
  Sale, and (V) Granting Related Relief [Docket No. ●] (the “Bid Procedures Order”), which, among
  other things, approved the Bid Procedures and set the following deadlines and dates:

                 Stalking Horse Bid Deadline:           April 26, 2019 at 4:00 p.m. (CST)

                 General Bid Deadline:                  July 16, 2019 at 4:00 p.m. (CST)

                 Auction:                               July 19, 2019 at 10:00 a.m. (CST)

          PLEASE TAKE FURTHER NOTICE that, pursuant to the Bid Procedures Order, a
  hearing to approve the sale in accordance with the Bid Procedures will be held on [●], 2019, at
  [●] (CST) at the Earle Cabell Federal Building, 1100 Commerce Street, 14th Floor,
  Courtroom No. 3, Dallas, Texas 75242-1496. Any objection to the terms of the sale must be
  filed with the Court and served so as to be received no later than four (4) days prior to the hearing
  by the following parties: (i) counsel for the Debtor, DLA Piper LLP (US), 1251 Avenue of the
  Americas,      New     York,     New      York      10020,      Attn:    Thomas      R.      Califano
  (thomas.califano@dlapiper.com) and DLA Piper LLP (US), 1900 North Pearl Street, Suite 2200,
  Dallas, Texas 75201, Attn: Dan Prieto (dan.prieto@dlapiper.com); (ii) the Debtor’s Chief

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  Restructuring Officer and restructuring advisor, Ankura Consulting Group LLC, 15601 Dallas
  Parkway, Suite 200, Dallas, Texas 75001, Attn: Louis E. Robichaux IV
  (louis.robichaux@ankura.com) and Michael Morton (michael.morton@ankura.com); (iii) the
  Debtor’s selling agent, Cushman & Wakefield, U.S., Inc., One Tampa City Center, Suite 3300,
  Tampa, Florida 33602, Attn: Allen McMurtry (allen.mcmurtry@cushwake.com); (iv) counsel for
  UMB Bank, N.A., Jackson Walker LLP, 2323 Ross Avenue, Suite 600, Dallas, Texas 75201, Attn:
  Kenneth Stohner, Jr. (kstohner@jw.com) and Vienna F. Anaya (vanaya@jw.com), and Jackson
  Walker LLP, 112 E. Pecan Street, Suite 2400, San Antonio, Texas 78205, Attn: J. Scott Rose
  (srose@jw.com) and Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., One Financial Center,
  Boston, Massachusetts 02111, Attn: William W. Kannel, Esq. (kannel@mintz.com) and Charles
  W. Azano (cwazano@mintz.com) and Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., 3580
  Carmel Mountain Road, San Diego, California 92130, Attn: Joseph R. Dunn (jrdunn@mintz.com);
  (v) counsel to the Official Residents’ Committee, Faegre Baker Daniels LLP, 600 E. 96th Street,
  Suite 600, Indianapolis, Indiana 46240, Attn: Jay Jaffe (jay.jaffe@faegrebd.com); Faegre Baker
  Daniels LLP, 311 S. Wacker Drive, Suite 4300, Chicago, Illinois 60606, Attn: George R. Mesires
  (george.mesires@faegrebd.com); and Neligan LLP, 325 N. St. Paul Street, Suite 3600, Dallas,
  Texas 75201; Attn: Patrick J. Neligan, Jr. (pneligan@neliganlaw.com); (vi) Centers For Medicare
  & Medicaid Services at: Legal Department, 233 North Michigan Ave, Suite 600, Chicago, Illinois
  60601 and Legal Department, 7500 Security Blvd, Baltimore, Maryland 21244; (vii) Indiana State
  Department of Health, Division of Long Term Care, 2 North Meridian Street, Suite 4B,
  Indianapolis, Indiana 46204, Attn: Brenda Buroker (bburoker@isdh.in.gov); (viii) Indiana
  Secretary of State, Securities Division, 302 West Washington Street, Room E111, Indianapolis,
  Indiana 46204, Attn: Aleksander M. Cirulis, Esq. (acirulis@sos.IN.gov); and (ix) the Office of the
  United States Trustee, 1100 Commerce St, Room 976, Dallas, Texas 75242-1699, Attn: Lisa
  Lambert.

           PLEASE TAKE FURTHER NOTICE that a copy of the Bid Procedures Order, the Bid
  Procedures, and any other document filed in the above-captioned case may be (i) inspected in the
  offices of the Clerk of the Bankruptcy Court during normal business hours; (ii) downloaded from
  the Bankruptcy Court’s web site at http://www.txnb.uscourts.gov/ (please note that prior
  registration with the PACER Service Center and payment of a fee may be required to access such
  documents); and (iii) downloaded free of charge from the website of Donlin, Recano & Company,
  Inc., the Debtor’s claims and noticing agent, https://www.donlinrecano.com/mayflower. Requests
  may also be made to proposed counsel for the Debtor using the contact information below.

  Dated: April [●], 2019
         Dallas, Texas
                                               DLA PIPER LLP (US)

                                               By: /s/ Dan Prieto
                                               Dan Prieto, State Bar No. 24048744
                                               dan.prieto@dlapiper.com
                                               DLA Piper LLP (US)
                                               1900 North Pearl Street, Suite 2200
                                               Dallas, Texas 75201
                                               Telephone: (214) 743-4500
                                               Facsimile: (214) 743-4545
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                                       - and -

                                       Thomas R. Califano (admitted pro hac vice)
                                       thomas.califano@dlapiper.com
                                       DLA Piper LLP (US)
                                       1251 Avenue of the Americas
                                       New York, New York 10020-1104
                                       Tel: (212) 335-4500
                                       Fax: (212) 335-4501

                                       - and -

                                       Rachel Nanes (admitted pro hac vice)
                                       rachel.nanes@dlapiper.com
                                       DLA Piper LLP (US)
                                       200 South Biscayne Boulevard, Suite 2500
                                       Miami, Florida 33131
                                       Tel: (305) 423-8563
                                       Fax: (305) 675-8206

                                       Proposed Counsel for the Debtor




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                                      Exhibit 3

                                  Assignment Notice
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      Dan Prieto, State Bar No. 24048744                        Thomas R. Califano (admitted pro hac vice)
      dan.prieto@dlapiper.com                                   thomas.califano@dlapiper.com
      DLA Piper LLP (US)                                        DLA Piper LLP (US)
      1900 North Pearl Street, Suite 2200                       1251 Avenue of the Americas
      Dallas, Texas 75201                                       New York, New York 10020-1104
      Telephone: (214) 743-4500                                 Tel: (212) 335-4500
      Facsimile: (214) 743-4545                                 Fax: (212) 335-4501

      PROPOSED COUNSEL FOR THE DEBTOR                           Rachel Nanes (admitted pro hac vice)
                                                                rachel.nanes@dlapiper.com
                                                                DLA Piper LLP (US)
                                                                200 South Biscayne Boulevard
                                                                Suite 2500
                                                                Miami, Florida 33131
                                                                Tel: (305) 423-8563
                                                                Fax: (305) 675-8206

                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

      In re:                                                    §
                                                                §         CHAPTER 11
                                                           1
      MAYFLOWER COMMUNITIES, INC.                               §
                                                                §         CASE NO. 19-30283 (HDH)
                                  Debtor.

       NOTICE OF ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS

                        A HEARING DATE ON THE SALE OF THE DEBTOR’S
                        ASSETS IS SET FOR [●], 2019, WHICH IS AT LEAST 21 DAYS
                        FROM THE DATE OF SERVICE HEREOF. NO OBJECTION TO
                        SUCH SALE WILL BE CONSIDERED UNLESS A WRITTEN
                        RESPONSE IS FILED WITH THE CLERK OF THE UNITED
                        STATES BANKRUPTCY COURT AT THE EARLE CABELL
                        FEDERAL BUILDING, 1100 COMMERCE STREET, 14TH
                        FLOOR, DALLAS, TEXAS 75242-1496 AT LEAST 4 DAYS IN
                        ADVANCE OF SUCH HEARING DATE.

                        ANY RESPONSE SHALL BE IN WRITING AND FILED WITH
                        THE CLERK, AND A COPY SHALL BE SERVED UPON
                        COUNSEL FOR THE MOVING PARTY PRIOR TO THE DATE
                        AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED, A
                        HEARING MAY BE HELD WITH NOTICE ONLY TO THE
                        OBJECTING PARTY.


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               The last four digits of the Debtor’s federal tax identification number are 6350.

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                 IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY
                 REQUESTED, THE RELIEF REQUESTED SHALL BE DEEMED
                 TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
                 ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED
                 ACTION MAY BE TAKEN.

         PLEASE TAKE NOTICE that, on January 30, 2019 (the “Petition Date”), Mayflower
  Communities, Inc. (the “Debtor”) filed a voluntary petition for relief under chapter 11 of title 11
  of the United States Code with the United States Bankruptcy Court for the Northern District of
  Texas (the “Court”).

          PLEASE TAKE FURTHER NOTICE that, on March 26, 2019, the Debtor filed the
  Debtor’s Motion for Entry of Orders (I) Approving Bid Procedures, (II) Authorizing the Debtor to
  Offer Certain Bid Protections to Stalking Horse, (III) Approving Procedures for the Assumption
  and Assignment of Certain Executory Contracts and Unexpired Leases, (IV) Authorizing (A) the
  Sale of the Debtor’s Assets Free and Clear of All Liens, Claims, Interests and Encumbrances, and
  (B) the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, (V)
  Approving the Forms of Notices Related to the Sale, and (VI) Granting Related Relief [Docket No.
  ●] seeking, among other things, (i) approval of certain bid procedures (the “Bid Procedures”) and
  bid protections with respect to the sale of substantially all of the Debtor’s assets (the “Assets”);
  (ii) authorization to sell the Debtor’s Assets free and clear of all liens, claims, interests and
  encumbrances; and (iii) approval of certain procedures to assume and assign certain executory
  contracts and unexpired leases (collectively, the “Assigned Contracts”) of the Debtor in connection
  with the sale of the Assets by the Debtor.

          PLEASE TAKE FURTHER NOTICE that, on April [●], 2019, the Court entered the
  Order (I) Approving Bid Procedures, (II) Authorizing the Debtor to Offer Certain Bid Protections
  to Stalking Horse, (III) Approving Procedures for the Assumption and Assignment of Certain
  Executory Contracts and Unexpired Leases, (IV) Approving the Forms of Notices Related to the
  Sale, and (V) Granting Related Relief [Docket No. ●] (the “Bid Procedures Order”), pursuant to
  which the Court approved the Bid Procedures and the procedures for the assumption and
  assignment of the Assigned Contracts. A copy of the Bid Procedures Order is attached hereto as
  Exhibit A.

         PLEASE TAKE FURTHER NOTICE that the Debtor has set forth on Exhibit B hereto
  the amounts due and owing, if any, under the Assigned Contracts through the date hereof (the
  “Cure Amounts”). The Bankruptcy Code requires that the Cure Amounts (which include any
  amounts owing on account of the Debtor’s prepetition obligations under the Assigned Contracts)
  be paid in full to the parties owed such amounts upon the Debtor’s assumption of the Assigned
  Contracts.

       PLEASE TAKE FURTHER NOTICE THAT ANY PARTY SEEKING TO ASSERT
  AN OBJECTION TO THE ASSUMPTION BY THE DEBTOR AND ASSIGNMENT TO
  THE SUCCESSFUL BIDDER OF THE ASSIGNED CONTRACTS, INCLUDING THE
  VALIDITY OF ANY CURE AMOUNT AS DETERMINED BY THE DEBTOR OR TO
  OTHERWISE ASSERT THAT ANY OTHER AMOUNTS, DEFAULTS, CONDITIONS

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  OR PECUNIARY LOSSES MUST BE CURED OR SATISFIED UNDER THE ASSIGNED
  CONTRACTS MUST FILE AND SERVE ITS OBJECTION (ANY SUCH OBJECTION,
  AN “ASSUMPTION OBJECTION”) SETTING FORTH WITH SPECIFICITY ANY AND
  ALL CURE OBLIGATIONS OR OTHER CONDITIONS WHICH SUCH PARTY
  ASSERTS MUST BE CURED OR SATISFIED WITH RESPECT TO SUCH ASSIGNED
  CONTRACT SO THAT SUCH ASSUMPTION OBJECTION IS ACTUALLY RECEIVED
  ON OR BEFORE FOURTEEN (14) DAYS FOLLOWING SERVICE OF THIS NOTICE
  (THE “OBJECTION DEADLINE”) by (i) counsel for the Debtor, DLA Piper LLP (US), 1251
  Avenue of the Americas, New York, New York 10020, Attn: Thomas R. Califano
  (thomas.califano@dlapiper.com) and DLA Piper LLP (US), 1900 North Pearl Street, Suite 2200,
  Dallas, Texas 75201, Attn: Dan Prieto (dan.prieto@dlapiper.com); (ii) the Debtor’s Chief
  Restructuring Officer and restructuring advisor, Ankura Consulting Group LLC, 15601 Dallas
  Parkway, Suite 200, Dallas, Texas 75001, Attn: Louis E. Robichaux IV
  (louis.robichaux@ankura.com) and Michael Morton (michael.morton@ankura.com); (iii) the
  Debtor’s selling agent, Cushman & Wakefield, U.S., Inc., One Tampa City Center, Suite 3300,
  Tampa, Florida 33602, Attn: Allen McMurtry (allen.mcmurtry@cushwake.com); (iv) counsel for
  UMB Bank, N.A., Jackson Walker LLP, 2323 Ross Avenue, Suite 600, Dallas, Texas 75201, Attn:
  Kenneth Stohner, Jr. (kstohner@jw.com) and Vienna F. Anaya (vanaya@jw.com), and Jackson
  Walker LLP, 112 E. Pecan Street, Suite 2400, San Antonio, Texas 78205, Attn: J. Scott Rose
  (srose@jw.com) and Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., One Financial Center,
  Boston, Massachusetts 02111, Attn: William W. Kannel, Esq. (kannel@mintz.com) and Charles
  W. Azano (cwazano@mintz.com) and Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., 3580
  Carmel Mountain Road, San Diego, California 92130, Attn: Joseph R. Dunn (jrdunn@mintz.com);
  (v) counsel to the Official Residents’ Committee, Faegre Baker Daniels LLP, 600 E. 96th Street,
  Suite 600, Indianapolis, Indiana 46240, Attn: Jay Jaffe (jay.jaffe@faegrebd.com); Faegre Baker
  Daniels LLP, 311 S. Wacker Drive, Suite 4300, Chicago, Illinois 60606, Attn: George R. Mesires
  (george.mesires@faegrebd.com); and Neligan LLP, 325 N. St. Paul Street, Suite 3600, Dallas,
  Texas 75201; Attn: Patrick J. Neligan, Jr. (pneligan@neliganlaw.com); (vi) Centers For Medicare
  & Medicaid Services at: Legal Department, 233 North Michigan Ave, Suite 600, Chicago, Illinois
  60601 and Legal Department, 7500 Security Blvd, Baltimore, Maryland 21244; (vii) Indiana State
  Department of Health, Division of Long Term Care, 2 North Meridian Street, Suite 4B,
  Indianapolis, Indiana 46204, Attn: Brenda Buroker (bburoker@isdh.in.gov); (viii) Indiana
  Secretary of State, Securities Division, 302 West Washington Street, Room E111, Indianapolis,
  Indiana 46204, Attn: Aleksander M. Cirulis, Esq. (acirulis@sos.IN.gov); and (ix) the Office of the
  United States Trustee, 1100 Commerce St, Room 976, Dallas, Texas 75242-1699, Attn: Lisa
  Lambert.

       PLEASE TAKE FURTHER NOTICE THAT UNLESS AN ASSUMPTION
  OBJECTION IS FILED AND SERVED BY A PARTY TO AN ASSIGNED CONTRACT
  BY THE OBJECTION DEADLINE, ALL PARTIES WHO HAVE RECEIVED ACTUAL
  NOTICE OR CONSTRUCTIVE NOTICE HEREOF SHALL BE DEEMED TO HAVE
  WAIVED AND RELEASED ANY RIGHT TO ASSERT AN ASSUMPTION OBJECTION
  AND TO HAVE OTHERWISE CONSENTED TO ASSUMPTION AND ASSIGNMENT
  AND SHALL BE FOREVER BARRED AND ESTOPPED FROM ASSERTING OR
  CLAIMING AGAINST THE DEBTOR, THE SUCCESSFUL BIDDER OR ANY OTHER
  ASSIGNEE OF THE RELEVANT ASSUMED AND ASSIGNED CONTRACT THAT ANY

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  ADDITIONAL AMOUNTS ARE DUE OR DEFAULTS EXIST, OR CONDITIONS TO
  THE ASSUMPTION OR ASSIGNMENT MUST BE SATISFIED, UNDER SUCH
  CONTRACT OR LEASE.

          PLEASE TAKE FURTHER NOTICE that Assumption Objections must set forth the
  cure amount or other obligation that the objecting party asserts is due, the specific types and dates
  of the alleged defaults, pecuniary losses and conditions to the assignment and the support thereof,
  if any.

          PLEASE TAKE FURTHER NOTICE that if, as to any Assigned Contract, no
  Assumption Objection is received by the Objection Deadline, such Assigned Contracts shall be
  deemed assumed by the Debtor and assigned to the Successful Bidder without further order of the
  Court, effective as of the later of (i) the Objection Deadline; or (ii) payment of the applicable Cure
  Amount, if any, set forth in Exhibit B hereto. If an Assumption Objection is received by the
  Objection Deadline and the Debtor and/or Successful Bidder is unable to resolve such objection
  consensually, the proposed assumption and assignment which is the subject of the Assumption
  Objection shall be subject to further order of the Court and the Debtor and/or the Successful Bidder
  shall promptly schedule a hearing to consider the Assumption Objection.

         PLEASE TAKE FURTHER NOTICE that hearings with respect to Assumption
  Objections shall be held on such date as the Court may designate.

        PLEASE TAKE FURTHER NOTICE that if you agree with the Cure Amounts set forth
  on Exhibit B and do not otherwise object to the Debtor’s assumption and assignment of your
  Assigned Contract, you need not take any further action.

           PLEASE TAKE FURTHER NOTICE that a copy of the Bid Procedures Order, the Bid
  Procedures, and any other document filed in the above-captioned case may be (i) inspected in the
  offices of the Clerk of the Bankruptcy Court during normal business hours; (ii) downloaded from
  the Bankruptcy Court’s web site at http://www.txnb.uscourts.gov/ (please note that prior
  registration with the PACER Service Center and payment of a fee may be required to access such
  documents); and (iii) downloaded free of charge from the website of Donlin, Recano & Company,
  Inc., the Debtor’s claims and noticing agent, https://www.donlinrecano.com/mayflower. Requests
  may also be made to proposed counsel for the Debtor using the contact information below.

  Dated: April [●], 2019
         Dallas, Texas
                                                DLA PIPER LLP (US)

                                                By: /s/ Dan Prieto
                                                Dan Prieto, State Bar No. 24048744
                                                dan.prieto@dlapiper.com
                                                DLA Piper LLP (US)
                                                1900 North Pearl Street, Suite 2200
                                                Dallas, Texas 75201
                                                Telephone: (214) 743-4500
                                                Facsimile: (214) 743-4545
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                                       - and -

                                       Thomas R. Califano (admitted pro hac vice)
                                       thomas.califano@dlapiper.com
                                       DLA Piper LLP (US)
                                       1251 Avenue of the Americas
                                       New York, New York 10020-1104
                                       Tel: (212) 335-4500
                                       Fax: (212) 335-4501

                                       - and -

                                       Rachel Nanes (admitted pro hac vice)
                                       rachel.nanes@dlapiper.com
                                       DLA Piper LLP (US)
                                       200 South Biscayne Boulevard
                                       Suite 2500
                                       Miami, Florida 33131
                                       Tel: (305) 423-8563
                                       Fax: (305) 675-8206

                                       Proposed Counsel for the Debtor




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                                       Exhibit 4

                          Notice of Selection of Stalking Horse
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      Dan Prieto, State Bar No. 24048744                        Thomas R. Califano (admitted pro hac vice)
      dan.prieto@dlapiper.com                                   thomas.califano@dlapiper.com
      DLA Piper LLP (US)                                        DLA Piper LLP (US)
      1900 North Pearl Street, Suite 2200                       1251 Avenue of the Americas
      Dallas, Texas 75201                                       New York, New York 10020-1104
      Telephone: (214) 743-4500                                 Tel: (212) 335-4500
      Facsimile: (214) 743-4545                                 Fax: (212) 335-4501

      PROPOSED COUNSEL FOR THE DEBTOR                           Rachel Nanes (admitted pro hac vice)
                                                                rachel.nanes@dlapiper.com
                                                                DLA Piper LLP (US)
                                                                200 South Biscayne Boulevard
                                                                Suite 2500
                                                                Miami, Florida 33131
                                                                Tel: (305) 423-8563
                                                                Fax: (305) 675-8206

                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

      In re:                                                    §
                                                                §         CHAPTER 11
      MAYFLOWER COMMUNITIES, INC.1                              §
                                                                §         CASE NO. 19-30283 (HDH)
                                  Debtor.

                              NOTICE OF SELECTION OF STALKING HORSE

                        A HEARING DATE ON THE SALE OF THE DEBTOR’S
                        ASSETS IS SET FOR [●], 2019, WHICH IS AT LEAST 21 DAYS
                        FROM THE DATE OF SERVICE HEREOF. NO OBJECTION TO
                        SUCH SALE WILL BE CONSIDERED UNLESS A WRITTEN
                        RESPONSE IS FILED WITH THE CLERK OF THE UNITED
                        STATES BANKRUPTCY COURT AT THE EARLE CABELL
                        FEDERAL BUILDING, 1100 COMMERCE STREET, 14TH
                        FLOOR, DALLAS, TEXAS 75242-1496 AT LEAST 4 DAYS IN
                        ADVANCE OF SUCH HEARING DATE.

                        ANY RESPONSE SHALL BE IN WRITING AND FILED WITH
                        THE CLERK, AND A COPY SHALL BE SERVED UPON
                        COUNSEL FOR THE MOVING PARTY PRIOR TO THE DATE
                        AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED,
                        A HEARING MAY BE HELD WITH NOTICE ONLY TO THE
                        OBJECTING PARTY.


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               The last four digits of the Debtor’s federal tax identification number are 6350.

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                 IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY
                 REQUESTED, THE RELIEF REQUESTED SHALL BE
                 DEEMED TO BE UNOPPOSED, AND THE COURT MAY
                 ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR
                 THE NOTICED ACTION MAY BE TAKEN.

         PLEASE TAKE NOTICE that, on January 30, 2019 (the “Petition Date”), Mayflower
  Communities, Inc. (the “Debtor”) filed a voluntary petition for relief under chapter 11 of title 11
  of the United States Code with the United States Bankruptcy Court for the Northern District of
  Texas (the “Court”).

          PLEASE TAKE FURTHER NOTICE that, on March 26, 2019, the Debtor filed the
  Debtor’s Motion for Entry of Orders (I) Approving Bid Procedures, (II) Authorizing the Debtor to
  Offer Certain Bid Protections to Stalking Horse, (III) Approving Procedures for the Assumption
  and Assignment of Certain Executory Contracts and Unexpired Leases, (IV) Authorizing (A) the
  Sale of the Debtor’s Assets Free and Clear of All Liens, Claims, Interests and Encumbrances, and
  (B) the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, (V)
  Approving the Forms of Notices Related to the Sale, and (VI) Granting Related Relief [Docket No.
  ●] seeking, among other things, (i) approval of certain bid procedures (the “Bid Procedures”) and
  bid protections with respect to the sale of substantially all of the Debtor’s assets (the “Assets”);
  (ii) authorization to sell the Debtor’s Assets free and clear of all liens, claims, interests and
  encumbrances; and (iii) approval to assume and assign certain executory contracts and unexpired
  leases of the Debtor.

          PLEASE TAKE FURTHER NOTICE that, on April [●], 2019, the Court entered the
  Order (I) Approving Bid Procedures, (II) Authorizing the Debtor to Offer Certain Bid Protections
  to Stalking Horse, (III) Approving Procedures for the Assumption and Assignment of Certain
  Executory Contracts and Unexpired Leases, (IV) Approving the Forms of Notices Related to the
  Sale, and (V) Granting Related Relief [Docket No. ●] (the “Bid Procedures Order”), which, among
  other things, approved the Bid Procedures. Pursuant to the Bid Procedures, the Debtor is required
  to provide notice if it secures a bid from a party willing to serve as the stalking horse (the “Stalking
  Horse”).

         PLEASE TAKE FURTHER NOTICE that, on [●], 2019, the Debtor entered into an asset
  purchase agreement with [●] (the “Stalking Horse APA”). Under the terms of the Stalking Horse
  APA, the Stalking Horse will purchase substantially all of the Debtor’s assets for [$●] and has
  already made a deposit of [$●].

          PLEASE TAKE FURTHER NOTICE that, if the Debtor receives two (2) or more bids,
  including the Stalking Horse’s bid, in accordance with the requirements set forth in the Bid
  Procedures, an auction will be held on July 19, 2019. If the Debtor selects a bid from a party other
  than the Stalking Horse as the winning bid, the Stalking Horse shall be entitled to receive bid
  protections (the “Bid Protections”), including a break-up fee of up to [2%] of the cash purchase
  price plus actual expenses in an amount not to exceed [$250,000].




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          PLEASE TAKE FURTHER NOTICE that, pursuant to the Bid Procedures Order, a
  hearing to approve the sale in accordance with the Bid Procedures will be held on [●], 2019, at [●]
  (CST) at the Earle Cabell Federal Building, 1100 Commerce Street, 14th Floor, Courtroom No. 3,
  Dallas, Texas 75242-1496. Any objection to the terms of the sale must be filed with the Court and
  served so as to be received no later than four (4) days prior to the hearing by the following parties:
  (i) counsel for the Debtor, DLA Piper LLP (US), 1251 Avenue of the Americas, New York, New
  York 10020, Attn: Thomas R. Califano (thomas.califano@dlapiper.com) and DLA Piper LLP
  (US), 1900 North Pearl Street, Suite 2200, Dallas, Texas 75201, Attn: Dan Prieto
  (dan.prieto@dlapiper.com); (ii) the Debtor’s Chief Restructuring Officer and restructuring
  advisor, Ankura Consulting Group LLC, 15601 Dallas Parkway, Suite 200, Dallas, Texas 75001,
  Attn: Louis E. Robichaux IV (louis.robichaux@ankura.com) and Michael Morton
  (michael.morton@ankura.com); (iii) the Debtor’s selling agent, Cushman & Wakefield, U.S., Inc.,
  One Tampa City Center, Suite 3300, Tampa, Florida 33602, Attn: Allen McMurtry
  (allen.mcmurtry@cushwake.com); (iv) counsel for UMB Bank, N.A., Jackson Walker LLP, 2323
  Ross Avenue, Suite 600, Dallas, Texas 75201, Attn: Kenneth Stohner, Jr. (kstohner@jw.com) and
  Vienna F. Anaya (vanaya@jw.com), and Jackson Walker LLP, 112 E. Pecan Street, Suite 2400,
  San Antonio, Texas 78205, Attn: J. Scott Rose (srose@jw.com) and Mintz, Levin, Cohn, Ferris,
  Glovsky and Popeo, P.C., One Financial Center, Boston, Massachusetts 02111, Attn: William W.
  Kannel, Esq. (kannel@mintz.com) and Charles W. Azano (cwazano@mintz.com) and Mintz,
  Levin, Cohn, Ferris, Glovsky and Popeo, P.C., 3580 Carmel Mountain Road, San Diego,
  California 92130, Attn: Joseph R. Dunn (jrdunn@mintz.com); (v) counsel to the Official
  Residents’ Committee, Faegre Baker Daniels LLP, 600 E. 96th Street, Suite 600, Indianapolis,
  Indiana 46240, Attn: Jay Jaffe (jay.jaffe@faegrebd.com); Faegre Baker Daniels LLP, 311 S.
  Wacker Drive, Suite 4300, Chicago, Illinois 60606, Attn: George R. Mesires
  (george.mesires@faegrebd.com); and Neligan LLP, 325 N. St. Paul Street, Suite 3600, Dallas,
  Texas 75201; Attn: Patrick J. Neligan, Jr. (pneligan@neliganlaw.com); (vi) Centers For Medicare
  & Medicaid Services at: Legal Department, 233 North Michigan Ave, Suite 600, Chicago, Illinois
  60601 and Legal Department, 7500 Security Blvd, Baltimore, Maryland 21244; (vii) Indiana State
  Department of Health, Division of Long Term Care, 2 North Meridian Street, Suite 4B,
  Indianapolis, Indiana 46204, Attn: Brenda Buroker (bburoker@isdh.in.gov); (viii) Indiana
  Secretary of State, Securities Division, 302 West Washington Street, Room E111, Indianapolis,
  Indiana 46204, Attn: Aleksander M. Cirulis, Esq. (acirulis@sos.IN.gov); and (ix) the Office of the
  United States Trustee, 1100 Commerce St, Room 976, Dallas, Texas 75242-1699, Attn: Lisa
  Lambert.

          PLEASE TAKE FURTHER NOTICE that a copy of the Bid Procedures Order, the Bid
  Procedures, the Stalking Horse APA any other document filed in the above-captioned case may be
  (i) inspected in the offices of the Clerk of the Bankruptcy Court during normal business hours; (ii)
  downloaded from the Bankruptcy Court’s web site at http://www.txnb.uscourts.gov/ (please note
  that prior registration with the PACER Service Center and payment of a fee may be required to
  access such documents); and (iii) downloaded free of charge from the website of Donlin, Recano
  &       Company,          Inc.,     the       Debtor’s     claims      and     noticing     agent,
  https://www.donlinrecano.com/mayflower. Requests may also be made to proposed counsel for
  the Debtor using the contact information below.




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  Dated: April [●], 2019
         Dallas, Texas
                                       DLA PIPER LLP (US)

                                       By: /s/ Dan Prieto
                                       Dan Prieto, State Bar No. 24048744
                                       dan.prieto@dlapiper.com
                                       DLA Piper LLP (US)
                                       1900 North Pearl Street, Suite 2200
                                       Dallas, Texas 75201
                                       Telephone: (214) 743-4500
                                       Facsimile: (214) 743-4545

                                       - and -

                                       Thomas R. Califano (admitted pro hac vice)
                                       thomas.califano@dlapiper.com
                                       DLA Piper LLP (US)
                                       1251 Avenue of the Americas
                                       New York, New York 10020-1104
                                       Tel: (212) 335-4500
                                       Fax: (212) 335-4501

                                       - and -

                                       Rachel Nanes (admitted pro hac vice)
                                       rachel.nanes@dlapiper.com
                                       DLA Piper LLP (US)
                                       200 South Biscayne Boulevard
                                       Suite 2500
                                       Miami, Florida 33131
                                       Tel: (305) 423-8563
                                       Fax: (305) 675-8206

                                       Proposed Counsel for the Debtor




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